                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )      Case No. 15-03076-01-CR-S-RK
                                             )
DEAUNTEE Q. MOSBY,                           )
                                             )
                      Defendant.             )

                                            ORDER

       On April 6, 2016, Defendant appeared before United States Magistrate Judge David P.
Rush pursuant to Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and entered a plea
of guilty to Count One contained in the Superseding Indictment filed on September 30, 2015. On
April 6, 2016, Judge Rush issued his Report and Recommendation (doc. 191).
       Upon careful and independent review, this Court finds that defendant’s plea was
knowledgeable and voluntary and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. Accordingly, this Court hereby
adopts and incorporates as its own Opinion and Order the Report and Recommendation of
United States Magistrate Judge David P. Rush. Accordingly, it is hereby
       ORDERED that defendant’s plea of guilty is accepted and defendant is adjudged guilty.
The defendant’s sentencing hearing will be scheduled and the parties notified of the date and
time of sentencing.
SO ORDERED.

                                                    s/ Roseann A. Ketchmark
                                                    ROSEANN A. KETCHMARK, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: April 28, 2016




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